
Freedman, J. (concurring).
This action is brought by the plaintiff as assignee of the collateral which the maker of a usurious note (also assigned) gave with the note, to procure a. delivery of the note and of the collateral to himself upon payment of the amount that was advanced on the note and the collateral by the present holder. The collateral consists of 5700 shares of the capital stock of the Walnut Grove Water Storage Company.
The complaint seeks equitable relief, and the joint demurrer of the present defendants is upon the ground that the complaint upon its face does not state facts sufficient to constitute a cause of action.
The demurrer was sustained upon the ground that the plaintiff has an adequate remedy at law, namely, that he has a defence at law to any action that may be brought on the note, and that he can recover the value of the collateral in an action of trover or for a conversion.
In coming to this conclusion the learned judge below overlooked the fact that the right of action claimed by the complaint is expressly given by section 1911 of the Code of Civil Procedure, and that even before that the action was maintainable on equitable principles generally.
*134In his note to that section Mr. Throop shows that the section establishes the rule in the special case of an equitable action to obtain relief against a usurious security, in substantial accordance with the rulings and principles laid down in Post v. Bank of Utica, 7 Hill, 391 ; Boughton v. Smith, 26 Barb. 635 ; Carow v. Kelly, 59 Ib. 239 ; Bissel v. Kellogg, 60 Ib. 617; Schermerhorn v. Talman, 14 N. Y. 93; Bullard v. Raynor, 30 Ib. 197; Freeman v. Auld, 44 Ib. 50; Tiedemann v. Ackerman, 16 Hun, 307; Wheelock v. Lee, 64 N. Y. 242, and various other cases..
Plaintiff is not bound to proceed at law. He has a right to ask that this particular stock be returned to him. He does not want damages. Asking for the cancellation of the note is a mere incident to the real relief he wants. He may care naught for the possession of the note, but he wants this particular stock. The value of said stock may be quite small to-day, but its prospective value to him may be very great.
As the demurrer is a joint one, no discrimination requires to be made between the demurring defendants.
A tender of the amount is not necessary to sustain the action. The offer in the complaint to pay is quite sufficient.
The judgment and order should be reversed with costs, and the plaintiff should have judgment ordered in his favor upon the demurrer with costs, with leave to the defendants to withdraw the demurrer and to answer on payment of both bills of costs.
Truax, J., concurs in reversing the judgment and order with costs. He is also of the opinion that plaintiff should have judgment ordered in his favor upon the demurrer with costs, with leave to the defendants to withdraw demurrer and answer upon payment of both bills of costs.
